        Case 1:16-cv-00564-GMS Document 60 Filed 04/18/18 Page 1 of 2 PageID #: 870




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                                                       April 18, 2018



By CM/ECF
The Honorable Gregory M. Sleet
U.S. District Court
District of Delaware
844 N. King Street
Unit 19
Wilmington, DE 19801-3569


                       RE:     Andrel Martinez v The State of Delaware et al
                               District Case No. 16-cv-00564 GMS
                               Our File No. 04270016.00001

Dear Judge Sleet:

       In anticipation of the discovery teleconference scheduled for Monday, April 23, 2018 at 10:00 a.m. in
the above-captioned matter, the parties jointly submit the following items to be presented to the Court:

       Plaintiff’s Issues

                   “Plaintiff request for additional depositions”

       Defendant’s Issues

                   “Plaintiff’s discovery request for internal affairs records.”

                                                       Respectfully submitted,



                                                       /s/ Anthony N. Delcollo _________________
                                                       Anthony N. Delcollo, Esquire (DE# 5688)
      Case 1:16-cv-00564-GMS Document 60 Filed 04/18/18 Page 2 of 2 PageID #: 871




AND/rlg

     cc: Clerk of Court
     Opposing Counsel
